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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                    (Charleston Division)

 BISHOP OF CHARLESTON,
    a Corporation Sole, d/b/a The Roman
       Catholic Diocese of Charleston

 and                                                        Case No. 2:21-cv-1093-BHH

 SOUTH CAROLINA INDEPENDENT
 COLLEGES AND UNIVERSITIES, Inc.

            Plaintiffs,                              PLAINTIFFS’ SUPPLEMENTAL RULE
                                                       26(F) DISCLOSURES – EXPERT
       v.                                                       WITNESSES

 MARCIA ADAMS, in her official capacity as
 the Executive Director of the South Carolina
 Department of Administration; and

 BRIAN GAINES, in his official capacity as
 budget director for the South Carolina
 Department of Administration; and

 HENRY MCMASTER, in his official
 capacity as Governor of South Carolina,

            Defendants.


        Plaintiffs Bishop of Charleston, a Corporation Sole, d/b/a The Roman Catholic Diocese of

Charleston, and South Carolina Independent Colleges and Universities, Inc., submit the following

disclosures of experts pursuant to Rule 26(a)(2) and Local Rule 26.03(a)(3):

        (3) The names and subject matter of expert witnesses (if no witnesses have been
        identified, the subject matter and field of expertise should be given as to experts likely
        to be offered).

                   1. Cole Blease Graham, Jr., PhD
                      Bush School of Government and Public Service, Texas A&M University
                      1117 Allen Building; 4220 TAMU
                      College Station, TX 7783-4220
                      (979) 458-8028
                      Cole_graham@tamu.edu
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            Dr. Graham’s CV and report have been provided to counsel for the
            Defendants.

      2.    Charles Glenn, Ph.D.
            Professor emeritus of Educational Leadership and Policy Studies
            Boston University
            (617) 353-7108
            glennsed@bu.edu

            Dr. Glenn’s CV and report have been provided to counsel for the
            Defendants.


                          Respectfully submitted,

                          s/Richard S. Dukes, Jr.              ____
                          Richard S. Dukes, Jr., (Federal ID No. 7340)
                          TURNER PADGET GRAHAM LANEY, PA
                          40 Calhoun Street, Suite 200
                          Charleston, South Carolina 29401
                          Phone: (843) 576-2800
                          Email: RDukes@turnerpadget.com

                                        -and-

                          Daniel R. Suhr (Admitted Pro Hac Vice)
                          Jeffrey D. Jennings
                          LIBERTY JUSTICE CENTER
                          208 S. LaSalle Street, Suite 1690
                          Chicago, Illinois 606064
                          Phone: (312) 637-2280
                          Email: DSuhr@libertyjusticecenter.com
                                  JJennings@libertyjusticecenter.com

                          ATTORNEYS FOR PLAINTIFFS




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